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                              6   Attorney for Plaintiff,
                                  Steven M. Calderon
                              7

                              8                     UNITED STATES DISTRICT COURT
                              9
                                                              FOR THE
                                                   EASTERN DISTRICT OF CALIFORNIA
                          10
                                   STEVEN M. CALDERON;
                          11                                               Case No.:1-17-cv-01655-LJO-MJS
THE CARDOZA LAW CORPORATION




                                               Plaintiff,
                          12
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                                                       v.
                          13
                                   RESURGENT CAPITAL                         NOTICE OF SETTLEMENT
                          14
                                   SERVICES, L.P. and
                          15       PINNACLE CREDIT
                          16
                                   SERVICES, LLC;

                          17                    Defendants
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                                  NOTICE OF SETTLEMENT IN CASE NO: 1-17-CV-01655-LJO-MJS
                                        Case 1:17-cv-01655-LJO-MJS Document 8 Filed 02/05/18 Page 2 of 2
                              1   TO THE COURT:
                              2         The Plaintiff, through counsel, hereby submits this Notice of Settlement to
                              3   notify the Court that the lawsuit has been settled, and respectfully requests that the
                              4   Court grant Plaintiff until March 12, 2018 to file the expected Notice of Voluntary
                              5   Dismissal.
                              6

                              7                                           Respectfully Submitted,
                              8
                                                                          THE CARDOZA LAW CORPORATION
                              9
                                  DATED: February 5, 2018                 BY: /S/ MICHAEL F. CARDOZA
                          10
                                                                          MICHAEL F. CARDOZA, ESQ.
                          11                                              ATTORNEY FOR PLAINTIFF,
                                                                          STEVEN M. CALDERON
                          12
THE CARDOZA LAW CORPORATION




                          13
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




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                                  NOTICE OF SETTLEMENT IN CASE NO: 1-17-CV-01655-LJO-MJS Page 2 of 2
